

Curto v Town of Orchard Park (2018 NY Slip Op 03089)





Curto v Town of Orchard Park


2018 NY Slip Op 03089


Decided on April 27, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 27, 2018

PRESENT: CENTRA, J.P., CARNI, DEJOSEPH, AND NEMOYER, JJ. (Filed Apr. 27, 2018.)


MOTION NO. (160/18) CA 17-00711.

[*1]PATRICIA J. CURTO, PLAINTIFF-APPELLANT,
vTOWN OF ORCHARD PARK, ORCHARD PARK POLICE DEPARTMENT, ORCHARD PARK POLICE OFFICER A. KOWALSKI, ORCHARD PARK POLICE OFFICER R. SIMMONS, ORCHARD PARK POLICE OFFICER J. CULLEN, REMY ORFFEO, DEFENDANTS-RESPONDENTS, ET AL., DEFENDANTS. (APPEAL NO. 1.)



MEMORANDUM AND ORDER
Motion for reargument or leave to appeal to the Court of Appeals denied.








